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                              UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF LOUISIANA
____________________________________
                                       )
EARL PETERS, et al.                    )
                                       )
                    Plaintiffs,        )
      v.                               )    Docket No. 16-cv-842-SDD-RLB
                                       )
RAMAN SINGH, et al.                    )
                                       )
                    Defendants.        )
____________________________________)

                                               ORDER

       Considering Plaintiff Herman Bella’s motion for leave to exceed the page limit regarding his

opposition to Defendants’ motion for summary judgment and his motion to substitute the incorrect

pleading,

       IT IS ORDERED that Plaintiff Herman Bella is hereby granted leave to exceed the 10-page

limitation;

       IT IS FURTHER ORDERED that the attached proposed pleadings shall be substituted in the

record for the incorrect pleadings.

       Baton Rouge, Louisiana, this ________ day of __________________, 2019.



                    _____________________________________________________
                              JUDGE, UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF LOUISIANA




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